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 Fill in this information to identify your case

 UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO
 Debtor 1:      Bryan        Howard            Payne           Case #:    16-17557-HRT
                First Name     Middle Name         Last Name


 Debtor 2:      Hillary      Andrea            Payne           Chapter:   13
                First Name     Middle Name         Last Name


Local Bankruptcy Form 3015-1.6
Chapter 13 Debtor’s Certification to Obtain Discharge
Check applicable boxes and complete applicable sections.

I, Hillary Andrea Payne, certify that:

 Part 1 Plan Payments


☒ I have completed all payments and obligations required by my chapter 13 plan, including if applicable all direct
payments to secured creditors.



 Part 2 Domestic Support Obligations

☒ I have no domestic support obligations.
☐ During the pendency of this bankruptcy case, I have paid all domestic support obligations that have become due under
any order of a court, administrative agency, or by any statute.
☐ I have provided the chapter 13 trustee with the information required for notice by 11 U.S.C. § 1302(d)(1)(c).


 Part 3 Valuation of Collateral Pursuant to 11 U.S.C. § 506


☐ I previously filed a Motion for Valuation of Collateral and Determination of Secured Status Under 11 U.S.C. § 506 (the
“Motion”) (docket no. _____ [#]) as to the real property described below. The Motion was granted on
__________________________ [month/day/year], (docket no. _____ [#]).


    _____________________________________________________________________________________
    [Provide property description if applicable.]

    [If the debtor seeks a specific order extinguishing the lien subject to the Motion, the debtor must submit the
    attached proposed order.]


 Part 4 Felony convictions under 11 U.S.C. § 522(q)(1) and 11 U.S.C. § 1328(h).

☒ I have not been convicted of a felony, as defined in 11 U.S.C. § 3156. See 11 U.S.C. § 522(q)(1)(A).
☒ There are no pending proceedings in which I may be found guilty of a felony of the kind described in 11 U.S.C. § 522
(q)(1)(A) or liable for a debt of the kind described in 11 U.S.C. § 522(q)(1)(B).


 Part 5 Personal Financial Management Course

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☒ I have completed an instructional course in personal financial management and the certification of completion has been
filed.



 Part 6 Signature of Debtor’s Attorney or Debtor (if unrepresented)

Dated: July 12, 2021                                                 /s/Ron Salas
                                                                    Ron Salas Atty. Reg. #: 41364
                                                                    ATTORNEY FOR DEBTOR
                                                                    323 WEST DRAKE ROAD, SUITE 116
                                                                    FORT COLLINS, CO 80526
                                                                    970-797-2519
                                                                    877-667-2860

 Part 7 Verification of Debtor

I declare under penalty of perjury that the foregoing is true and correct.

Dated: July 12, 2021                                                         By: /s/ Hillary Andrea Payne
                                                                                      Signature of debtor
                                                                                      4033 Berwick Lane
                                                                                      Fort Collins, CO 80524




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